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                            EXHIBIT 3
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                                                   June 27, 2013



VIA E-MAIL
Bryan Aylstock, Esq.
Aylstock, Witkin, Kreis & Overholtz
17 E. Main Street, Suite 200 (32502)
Post Office Box 12630
Pensacola, Florida 32591

        RE:       In re: Ethicon, Inc. Pelvic Repair System, Products Liability Litigation,
                  MDL No. 2327

Dear Bryan:

        I am writing to follow up on the supplemental document request responses that we served
on June 14, 2013. As I stated to you previously, my hope is that these revised responses will
satisfy your concerns over the objections. Please let me know if you have any questions about
them or if you would like to discuss them.

       Also, as I mentioned in my June 13, 2013 letter, we would like to have an in person
meeting to discuss the remaining document production concerns that you raised in your filings
with the Court. Please let me know some convenient times for the person or persons on your
team that will be handling these issues and we will coordinate.

        I look forward to continuing to work with you on these issues.


                                              Very truly yours,

                                              BUTLER, SNOW, O’MARA, STEVENS & CANNADA, PLLC



                                              Christy D. Jones

CDJ:fsw

cc:     Tom P. Cartmell
        D. Renee Baggett

ButlerSnow 16821148v1

                                                CHRISTY D. JONES                  Suite 1400
             Post Office Box 6010                                                 1020 Highland Colony Parkway
                                                    601.985.4523
      Ridgeland, MS 39158-6010                                                    Ridgeland, MS 39157
                                          christy.jones@butlersnow.com
                                T 601.948.5711 • F 601-985-4500 • www.butlersnow.com
                             BUTLER, SNOW, O'MARA, STEVENS & CANNADA, PLLC
